                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 TRACY R. TURNER,

         Plaintiff,                              Case No. 3:21-cv-00042

 v.                                              Judge Eli J. Richardson
                                                 Magistrate Judge Alistair E. Newbern
 METROPOLITAN GOVERNMENT OF
 NASHVILLE & DAVIDSON COUNTY,

         Defendant.


                                           ORDER

        On April 18, 2022, Defendant Metropolitan Government of Nashville and Davidson

County, Tennessee, filed a motion for summary judgment on Plaintiff Tracy Turner’s claims

against it. (Doc. No. 24.) As established by the initial case management order (Doc. No. 12, 23),

any response in opposition to the motion for summary judgment must be filed by May 16, 2022.

Any optional reply shall be filed by May 31, 2022.

        Any filings made related to the motion for summary judgment, including motions for

extensions of time or to exceed page limits, shall be decided by Judge Richardson unless referred

to the undersigned Magistrate Judge.

        It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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